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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                               HELENA DIVISION

UNITED STATES OF AMERICA,                            CR-24-26-H-BMM

                         Plaintiff,                        ORDER

           vs.

BRYANT NICHOLAS ESPINOZA,


                          Defendant.


       The Defendant having pled GUILTY to Count I of the Indictment and

TRUE to the Forfeiture Allegation at a Change of Plea Hearing on February 24,

2025. Accordingly,

       IT IS HEREBY ORDERED :

      1.         Sentencing is set for June 9, 2025 at 10:00 a.m. at the Paul Hatfield

Federal Courthouse, Helena, Montana.

      2.         The United States Probation Office shall conduct a presentence

investigation in accordance with Fed. R. Crim. P. 32(b) and 18 U.S.C. § 3552(a).

      3.         Following completion of the presentence report, the probation officer

shall disclose the report (excepting any recommendations of the probation officer)
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to the defendant, counsel for the defendant, and counsel for the government ON

OR BEFORE April 22, 2025The probation officer shall not disclose, directly or

indirectly to anyone under any circumstances, the substance or contents of any

recommendation made or to be made to the Court.

      4.     In cases where restitution is mandatory, the probation officer shall

consider a payment plan with the Defendant and make recommendations to the

Court concerning interest and a payment schedule.

      5.     In accordance with U.S.S.G. § 6A1.2, after receipt of the pre-sentence

report and ON OR BEFORE May 6, 2025 counsel for each party shall present to

the probation officer, in writing, any objections to be relied upon at sentencing and,

if there is a dispute over any material in the pre-sentence report, counsel shall meet

with the probation officer and attempt to resolve disputes informally by diligent

good faith effort.

      6.     The pre-sentence report, in final form, shall be delivered to the Court

and the parties ON OR BEFORE May 16, 2025.

      7.     If the objections made pursuant to ¶ 5 are not resolved and counsel

wishes the Court to address them, the objecting party shall submit all unresolved

objections and a sentencing memorandum to the Court ON OR BEFORE May 23

2025. The Court will resolve disputes in accordance with § 6A1.3 of the

guidelines at the sentencing hearing.
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      8.     If either party intends to have witnesses testify at sentencing, the party

must notify the Court and the opposing party, by filing a separate notification

document, ON OR BEFORE June 2, 2025 of the identity of the witness and the

scope and purpose of the intended testimony. The requirement that the opposing

party be notified of any intended testimony applies regardless of the language of

Rule 17(b) contemplating ex parte application for witness subpoenas.

      9. Without leave of Court, the defendant may file no more than ten (10)

letters of support. Defendants wishing to file more than ten (10) letters must first

seek leave of Court explaining why a greater number is necessary.

      10.    Any responses to sentencing memoranda shall be filed ON OR

BEFORE June 2, 2025.

      11.    Reply briefs will not be accepted for filing in sentencing matters.

      DATED this 25th day of February 2025.
